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 1   Michael E. Hansen
     Attorney at Law, SBN 191737
 2   711 Ninth Street, Suite 100
     Sacramento, CA 95814
 3   916.438.7711 FAX 916.864.1359
 4   Attorney for Defendant
     JIMMIE PERRYMAN
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:08-CR-0197 GEB
11                                 Plaintiff,           STIPULATION AND [PROPOSED]
                                                        ORDER TO CONTINUE STATUS
12          vs.                                         CONFERENCE, AND TO EXCLUDE
                                                        TIME PURSUANT TO THE SPEEDY
13   JIMMIE PERRYMAN,                                   TRIAL ACT
14                                 Defendant.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd D. Leras, Assistant United States Attorney, attorney for plaintiff; and
18   Michael E. Hansen, attorney for defendant Jimmie Perryman, that the previously-scheduled
19   status conference date of June 17, 2011, be vacated and the matter set for status conference on
20   August 12, 2011.
21           This continuance is requested to allow counsel additional time to review discovery with
22   the defendant, to examine possible defenses and to continue investigating the facts of the case.
23          Accordingly, counsel and the defendants agree that time under the Speedy Trial Act
24   from the date this stipulation is lodged, through August 12, 2011, should be excluded in
25   computing time within which trial must commence under the Speedy Trial Act, pursuant to
26   / / / / /
27   / / / / /
28   / / / / /


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     Stipulation and [Proposed] Order to Continue Status Conference
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 1   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 [reasonable time for defense
 2   counsel to prepare].
 3   Dated: June 16, 2011                              Respectfully submitted,
 4
                                                       /s/ Michael E. Hansen
 5                                                     MICHAEL E. HANSEN
                                                       Attorney for Defendant
 6                                                     JIMMIE PERRYMAN
 7   Dated: June 16, 2011                              U.S. ATTORNEY’S OFFICE
 8
                                                       By: /s/ Michael E. Hansen for
 9                                                     TODD LERAS
                                                       Assistant U.S. Attorney
10                                                     Attorney for Plaintiff
11
12                                            ORDER
13          IT IS HEREBY ORDERED that the previously-scheduled status conference date of
14   May 6, 2011, be vacated and the matter set for status conference on August 12, 2011. Time is
15   excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and
16   Local Code T4.
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19                                           GARLAND E. BURRELL, JR.
                                             United States District Judge
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     Stipulation and [Proposed] Order to Continue Status Conference
